






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN



                       




NO. 3-91-292-CR




WAYMON PARNELL, a/k/a


PETE PARNELL, a/k/a


JOHN GREEN,



	APPELLANT


vs.





THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT


NO. 40,209, HONORABLE RICK MORRIS, JUDGE


                       





PER CURIAM

	The district court found appellant guilty of obtaining a controlled substance by use
of a forged prescription.  Tex. Health &amp; Safety Code Ann. § 481.129 (Pamph. 1992).  The court
assessed punishment, enhanced by two previous felony convictions, at imprisonment for twenty-five years.

	Appellant's court-appointed attorney filed a brief in which he concludes that the
appeal is frivolous and without merit.  The brief meets the requirements of Anders v. California,
386 U.S. 738 (1967), by presenting a professional evaluation of the record demonstrating why
there are no arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988);
Gainous v. State, 436  S.W.2d 137 (Tex. Crim. App. 1969); Jackson v. State, 485  S.W.2d 553
(Tex. Crim. App. 1972); Currie v. State, 516  S.W.2d 684 (Tex. Crim. App. 1974); High v.
State, 573  S.W.2d 807 (Tex. Crim. App. 1978).  A copy of counsel's brief was delivered to
appellant, and appellant was advised of his right to examine the appellate record and to file a pro
se brief.  No pro se brief has been filed.

	We have carefully reviewed the record and counsel's brief and agree that the appeal
is frivolous and without merit.  Further, we find nothing in the record that might arguably support
the appeal.

	The judgment of conviction is affirmed.



[Before Chief Justice Carroll, Justices Aboussie and B. A. Smith]

Affirmed

Filed:&nbsp; March 4, 1992

[Do Not Publish]


